         Case: 24-40248        Document: 158         Page: 1      Date Filed: 09/10/2024




                                                                                September 10, 2024



Lyle W. Cayce
Clerk of Court
U.S. Court of Appeals for the Fifth Circuit
600 S. Maestri Place, Suite 115
New Orleans, Louisiana 70130-3408

       Re:      M.D. ex rel. Stukenberg v. Abbott, No. 24-40248

Dear Mr. Cayce:

        On behalf of the appellee class of Texas foster children, we respectfully request that the
Clerk’s office forward this letter with its attachment to the panel in this case, which was submitted
after oral argument on August 5, 2024.

        In support of their request for reassignment, appellants cite media reports as authorities
reflecting the public’s supposed perceptions of the district court’s role in enforcing the remedial
orders, suggesting that comments by the district court are responsible for negative media coverage
of the foster care system rather than appellants’ conduct. Their opening brief cites to a 2023 Texas
Tribune article. See Op. Br. 57 & n.15 (May 28, 2024). And in reply, appellants supplemented their
argument by citing to a 2024 Texas Tribune article, newly published the day before. See Reply Br.
23 (July 9, 2024).

        Given appellants’ reliance on media authorities, we respectfully enclose a copy of a new
editorial in the Dallas Morning News regarding progress made under the district court’s
supervision. See “Booting tough Texas judge from foster care case would be huge mistake: Texas’
foster care system is better because Janis Jack has forced reform.,” Dall. Morning News (Sept. 10,
2024), avail. at https://www.dallasnews.com/opinion/editorials/2024/09/10/booting-tough-
texas-judge-from-foster-care-case-would-be-huge-mistake/.


                                              Respectfully yours,


                                              __________________________
                                              R. Paul Yetter

                                              Counsel for Plaintiff/Appellee Class

cc: All counsel of record via CM/ECF
Case: 24-40248   Document: 158   Page: 2   Date Filed: 09/10/2024




             Attachment
         Case: 24-40248         Document: 158         Page: 3     Date Filed: 09/10/2024




Booting tough Texas judge from foster care case
would be huge mistake
Texas’ foster care system is better because Janis Jack has forced reform.
By Dallas Morning News Editorial, Sep 10, 2024
The lawsuit against Texas’ foster care system has taken many turns in the 13 years that it has
wound through the federal courts. But the decision that now sits before the 5th U.S. Circuit
Court of Appeals could be a bombshell.
We are worried that in its eagerness to rid itself of its toughest watchdog, the state’s foster care
system will derail its tenuous but remarkable progress.
Attorneys for the state are asking the appellate court to toss the latest contempt findings by U.S.
District Judge Janis Graham Jack. She decided to fine the state $100,000 a day after federal
monitors revealed that the Health and Human Services Commission repeatedly failed to
properly investigate claims of abuse involving intellectually disabled children in some group
homes. Several children were left in dangerous placements.
In one case, HHSC had a dozen concurrent abuse investigations involving a disabled teenage girl
in a Grand Prairie group home. The girl ended up in the hospital with a broken jaw. She had also
complained about sexual abuse, and another state agency had separately investigated allegations
that one of her caregivers had abused his stepdaughter. HHSC didn’t know about this. The man
was later charged with a crime.
Judge Jack determined the state violated her orders that require abuse investigations be
completed in certain timeframes and children’s safety be ensured. But Texas officials say the
judge unfairly seized on a few dozen investigations despite hundreds of others in different parts
of the foster care system that were conducted correctly.
Is it a matter of the severity of the failures, or the volume?
The more important question is whether Jack should remain on the case. Attorneys representing
Texas say that Jack is so passionate she has become an advocate.
Jack is often biting and sarcastic in questioning state officials and attorneys. Her annoyance is
human, given frequent obfuscation and meandering answers from the state. At a December
hearing, an HHSC higher-up couldn’t answer basic questions about investigatory jurisdiction or
about a new policy.
Still, Jack is a judge, and she must model best behavior. At another hearing, Jack unwisely
threatened to punish state officials by sentencing them to stay in “cheap motels,” where they
might be “subject to the tasering or the handcuffs,” a reference to unlicensed homes and
incidents involving foster children.
We wish Jack wouldn’t snap at every provocation from Texas. Now state officials are leaning on
her frustration to kick her off the case.
That would be a mistake. Texas’ foster care system has made huge strides. Investigators’ and
inspectors’ caseloads are more manageable. An overwhelming majority of new caseworkers
complete their training. As of July, about 14 children a day were without licensed placement,
compared to a peak of 191 three years ago.
And as much as Texas pats itself on the back in court filings, this has all happened because of
Jack’s unrelenting scrutiny. She keeps track of every detail in this labyrinthine foster care
system, and she forces the state to follow through on its commitment to do better by its kids.
        Case: 24-40248        Document: 158        Page: 4    Date Filed: 09/10/2024




Without her drive for accountability, more kids would be in danger.




                                             -2-
